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                                               UNITED STATES DLSTRlCT COURT
                                             EASTERN DISTRICT OF PENNSYLVANIA
                                                   ALLE:NTOWN DIVISION




            rv1oshe Geiger. individually and on behalf' of all others
            similarly situated.                                                            Docket No:

    ',
    ::::;                                                       Plaintiff.                 CLASS ACTION COMPLAINT
    ...J
    :L

~(/)
 co-
.c: Q)
                                                   \'S.
                                                                                           JURY TRJAL DEMANDED
U, 1'       Natinmvick Cred it Inc ..
-t::
coca                                                            Defendant.
men
                     !\foshc Geiger. individua ll y and on behalf of all others similarly situated (hereinafter
            referred lo as ··Pfaint!f("). by and through the undersigned counsd. complains. states and alleges
            against Nationwide Credit. Inc . (hereinafter reten-ed to as ··Defendan(·). as follows:


                                                               INTRODUCTION
                       I.        This ;Jl.'.tiun seeks to rel.'.<.)Ver for violations   or the Fair Debt Co ll ection Practices
            /\ct. 15 l l.S.C.     ~   1692 , ('! :seq. (the --FDCPA "') .


                                                          .JlfRISDICTION AND VENUE
                      ...,       Th is Coun has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
            and 15 lJ.S.C.       ~    1692.k(d).
                      3.         Ve nue is proper under 28 U.S.C. § 139l(b) because a substantial part of the
            cvt.:nls or omissions givi ng rise to the claim occurred in this Judicial District.
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                 -l .    A1 all relevunl ti1m:s. DelcnJan t conducted business within the State            or
       Penns) lvania.



                                                           PARTIES
                 5.      Plain ti ff Mos he Geiger is nn individual vVhl) is a citi7en of the ~late of New 'i-' orl-
       rcsiding in Kings County, Nev,' York.
                 6.      Plaintiff is a natural person allegedly obl igated to pay a debt.
                 7.      Plaintiff is a --consumer .. as defined by 15 U.S.C.    *1692a(3 ).
                 8.      On information and belief, Defendant N-ilionwide Cred it. Inc.. is a Pcnns: lvani a
       Corporation with a principal place of business in Lehigh County. Pcnnsylrnnia .
                 9.      Defenda nt regularly collects or attempts to collect debts asserted to be owed to

       others.
,,
:::,             10 .    Defendant is regularly engaged . for protit. in the collection or debts alleged ly
...J
:l.

       O\\'ed by consumers.
                 11.     The principal purpose     or Defendant's business is the collection or such debts.
                 12.     Defendant uses the mails in its debt collec tion business.
                 U.      Defendant is a "debt collector" as defined by 15 U .S.C.       ~   l 692a( 6 ).


                                   ALLEGATIONS SPECIFIC TO PLAINTlFF
                  14.    Defendant alleges Plaintiff owes a debt c·the alleged Debt .. ).
                  15 .   The alleged Debt is an alleged obligation of Plaintiff to pay mo ney arising out of
       a transaction in which the money. property. insurance. or sen·ices which are the subjt'.ct of the
       transaction are prima ril y for personal. family. or house hold purposes.
                  16.    The alleged Debt does not arise from any business enterprise of Plaintiff.
                  17.    T he alleged Debt is a ··debt .. as defined by 15 U. S. C. § 1692a(5).
                  18.    At an exact time known only to Defendant. the al leged Debt was assigned or
       otherwise transferrl:'.d lo Delendant for collection.
                  19.    At the time the allegc:d Debt was assigned or otherwise transferred to Defendant
       for collection. the alleged Debt was in default.
                 10.     In its effo11s to collect the alleged Deht. Defendant contacted Plaintiff by letter
       ("'the Letter··) dated July 26. 20 I 9.   (i\   true and accurate copy is annexed hereto as "Exhibit 1.")



                                                                ')
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                 21.         The Letter conYeyed information regarding 1hc alkgccl Dt.'bt.
                 11
                             The Letter is a ··communication" as defineJ b:, 15 l l.S.C.       ~   ] 602a(2).
                 _I _
                    ....1,
                             The Le!lcr was receivo.::d and rc'ad by Plaintiff.
                 2-:t.       I :i lJ .S.C. § 1692e protects Plaintiff's concrete interests. Plaintiff has the intc:-rest

       and ri ght to be free from dccep1ive aml/or misleading communications from Defendant. As set

       f'orth herein. Def~,ndam deprived Plaintiff of thi s right.
                 25 .        I :i U.S.C   S 1692e prohibits a debt wllcctor from       using any false. dect.'rti\'e. or
       misleading representation or means in connection with 1hc collection of any debt.
                 26.         15 U .S.C. § l 692e( IO) prohibits the use of any false rcprescntaiion or Jecepti,e
       means to collect or attempt to co!le<.:t any debt.
                 17.         A debt collection practice can be a ·'folsc. dt.'ceptive. or misleading .. practice in
       viol3tion       or 15 U.S.C. ~     l692e even if it docs not fall \\ ithin any of the subsections of 15 U.S .C.
()
..J
.. J   ~   I 692e .
a..
                 28.         A collection letter violates 15 l.1.S.C. ~ 16921:' if. in the c;es or the least

       sophisticated consumer it is open to more than one ri:asonable interpretation. at least one of
       \.vhich is inaccurate.
                 :29.        /\ collection letter also violates I 5 U.S.C.   ~   1692e if it is reasonably susceptible to
       an inaccurate reading by the least sophisticated consumer.
                 30.         For purposes or 15 U.S.C.      ~   I692e. the failure to clearly and accurately identify
       the ov;ner or a Lkbt is unfair and deceptive to the least sophiscicated consumer.
                 31.         The O\vner of a deb1 must be clear!::, conveyed from the perspective of the least
       sophisticated consumer.
                 32.         The owner of a c.lebt must be accurately conveyed from the perspective of the least
       sophisticated consumer.
                 33.         The owner of a debt must be conveyed without amhiguity from the perspet.:ti"e of
       the least so phisticated consumer.
                 34.         The identity of the 0\\11er of a dcht is a material piece ofinlonnation to a
       consumer.
                 35.         Knowing the identity of the o,vner oi' a debt affects hmv a consumer responds to a
       debt colkctor's attempts to rnll~ct the debt.




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          36.       The Letter !ails to iclcntil\ b) name and label any entity as --creditor:· -·current
creditor: · ·-accnu nt owner:· or ··creditor to whom the debt is o,...-ed.'"
          37.        R:.ither. the Letter provides only. '"Original Creditor: JP\·1ORGAN Cl !ASE
8 ,\ ~ K l I.· .,.\_!\_/\_--

          38 .       I he I.ettcr demands rayment be made to Nationwide Credit. Inc.
          39.        The least sophisticateJ consumer ,voulJ be confused as to whether the owner of
the al leged Debt is the -·originar· creditor JPMORGAT\ CHASE BANK USA. N.A .. the entity to
,-vhi ch payment must he made Natiomvide Credit. Inc .. or some other unnamed entity.
          --lO.      Th e lea st -;ophistic::ited consumer ,,.- nuld likely be confused as to the ov.ner of the
alleged Debt.
          41 .      The least sophisticated consumer ,votild likelv be uncertain as to owner of the
alleged Debt.
                     Because the I.ctter can reasonably be read by the least sophisticated consumer to
have two or more meanings concerning the 0\\11er or the alleged Debt. one of which is inaccurate
as described. it is deceptive ·within the meaning of I 5 U.S.C. § 1692e.
          43 .       13ecnuse the Letter is reasonably susceptible to an inaccurate reading by the least
sophistica ted consumer concerning the 0\\-11er of the alleged Debt as described. it is deceptive
within the meanin g        or l 5 U.S.C. s 1692e.
          44.       The least sorhisticated consumer would likely be deceived by the Letter.
          45 .       lhe least sophisticated consumer would likely be deceived in a material ,vay by
the l.ctter.
          46.        For the fo regoing reasons. Ddendant violated 15 U.S.C.        ~S   1692e and 1692e{ l 0)
anJ is liable to Plaintiff therefor.


                                            CLASS ALLF:CATIONS
          47 .       Plainti ff brings this action individually and as a class action on behalf of all
persons sirn ilarl~ situated in the State of Pennsylvania.
          48 .       Pl aintiff seeks to certify a class of:
                           1\II consumers to whom Defendant sent a collection letter !"ailing to
                           explicitly state the O\\ller of the alleged Debt. substantial!!' and
                           materially similar to the Letter sent to Plaintiff. which letter ,vas sen!
                           on or after a date one year prior t~l the filing 1)f this action to the



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                      prl' SCllt.


        --19.    rhi s actilln seeks a line.ling that Defendant's conduct ,iolatcs the r-DCP/\ , nnd
as ks tha t the Court ;.i\\'ard damages as authorized by 15 U. S.C. § 1692k .
        .50 .    The C lass consists of more than thirty-five persons .
        .5 I .   Plai nriffs claims are typical of the claims of the Class. Common questi ons      or law
or !act rni scd by thi s action affect all members of the Class and predominate over any individual
issues. Common rdier is therdore sought on behalf of all members of the Class. A class action is
superior to ot her a,ail::iblc methods for the lair and efticient adjudication o!'this controversy.
        52.      The prnsecution of separate action" by individual members of the Class \\'ould
create a risk of inconsi stent or \·arying adjudications with respect to the indi\ idual members      or the
Cla ss. and a ri sk that any adjudications with respect to individual members or the Class \\-Ould, as
a practical matter. either be dispositive   or the interests of other members or the Class nol party to
the adj udication. ur substantially impair or impede their ability to protect their interests.

Defe ndant has acted in a manner applicable to the Class as a whole such that declaratory relief is


        53 .     Plaintiff will fairly and adequately protect and represent the interests of the Class.
I he management of the class is not extraordinarily difficult and the factual and legal issues
raised by this actio n will not require extended contnct with the members        or the Class.   because
fkknd ant's rnnduct was perpetrated on all members of the Class and will be established by
cumm nn proo f. rvloreo\er. Plaintiff has retained counsel experienced in actions brought under
consumer protection laws .


                                            JURY   DF:MAND
        54.      Plaintiff hereby demands a trial of this action by jury.


                                       PRAYER FOR RELIEF
        WHEREFORE Plaintiff respect fully requests judgment be entered:
                    a. Certifying this action as a class action: and

                    b. Appointing Plaintiff as Class RcrrcsentatiYe and Plaintift's attorneys as
                    C lass Counsel:




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                  c.   1-'inding Defendant's actions Yiolate the l·DCPA: and

                  d. Gran ting damages against Defendant pursuant to 15 l . . S.C. § J 6C)2k: and

                  e.   Granting Plaintiffs attorneys' fees pursuant to 15 U.S.C.   ~ 1692k:   and

                  f.   Granting Plaintiffs costs: all together with

                  g. Such other relief"that the CoUti determines is just and proper.

DATF.D : lvfarch 30, 2020
                                              BARSHA Y SANDERS, PLLC
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                                              }.1elisa A. Piril~iire
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                                              Garden City. New York 11530
                                              Tel: (516) 203-7600
                                              Fax: (516) 706-5055
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                                              Our File No.: 118231




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                     PERSONAL AND CONFIDENTIAL
                     PO Box 10354
                     Des Moines, IA 50306-0354                                        01292
                                                                                                                         ACCOUNT BAI.ANGE: $2,915.51

                    111111111111                                                                                         AMOUNT ENCLOSED:
                                                                                                                     24-hour account access: https://myaccount.ocirm,com
                                                                                                                     o Change of address: Print New Address on Back
           002/C05/783/07/26/2019/INY/1.1 /20180423

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                                                                                                                       NATIONWIDE CREDIT, INC.
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                 76737-27A8***AUTO**MIXED MOC 350                                                                      Des Moines IA 50306-3581
                 M Geiger
                 4910 17TH AVE APT 38
                 Brooklyn NY 11204-1185


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           ::>1ease Detacri c,na Return this Stub 1n the Enclosed Envelope with you, Cree~ or Money Order - r\1ake Sure the "Remit to· Adcress appears 1n the 'N1nctow


                                      Nationwide Credit, Inc.                                                              Original Creditor: JPMORGAN CHASE BANK, N.A.
                                                                                                                           Account Number: XXXXXXXXXXXX9566
                                      PO Box 14581
                                      Des Moines, IA 50306-3581                                                            Account Balance: $2,915.51
                                      Monday-Friday 8 AM to 7 PM ET                                                        Settlement Amount .$1,486.91
                                      1-877-658-8518                                                                       Date: 07/26/2019
                                      myaccount.ncirm,com




                                     Nationwide Credit, Inc. ("NCI") previously sent you a letter, more than thirty (30) days ago, advising you that your past
                                     due account was placed with us for collection. The Account Balance is shown above.
                                     We are offering you an opportunity to settle this account for $1,486.91 . This offer is valid for a one-time payment of the
                                     settlement amount and is due on or before 08/09/2019 ("Settlement Agreement"). This offer is contingent upon NCI
      myaccount.ncirm.com            receiving the payment pursuant to the payment schedule outlined in this letter. If you fail to meet any terms of the
                                     Settlement Agreement, NCI may, at its discretion, cancel the Settlement Agreement or offer you a new settlement
      • 24-hour Access               agreement. NCI is not obligated to renew this offer.
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                                     You may accept this settlement, see other options available to you                               ,t St~ t51 YCll.lf .t.c.toun l'

      • Make or                      and manage your account online using the following process:                                      • Upd1:1 You,C.On!• t ·f'dormae'Otl
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        Reschedule                   1. Visit myaccount.ndrm.com
        Payments
                                                                                  •
                                     2. Login using your NCI 1D•- 9494 and the last four digits of
                                        your SSN as the password
      • Settle
        Your                         You can also call us at 1-877-658-8518 to speak with one of our associates or you may choose to send us a
        Account                      payment using the coupon below.

      • Update                       Sincerely,
        Your                         MAURICE RICO
        Contact                      Nationwide Credit, Inc.
        Information                  This communication is an attempt to collect a debt by a debt collector or consumer collection agency and any
                                     information obtained will be used for that purpose.
      • Tell Us How
       to Contact
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                   THIS COMMUNICATION IS AN ATTEMPT TO COLLECT A DEBT BY A DEBT COLLECTOR OR CONSUMER
                      COLLECTION AGENCY AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.
             New York City Department of Consumer Affairs license Number: 0914159




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